
                                                                    



















COURT OF APPEALS

SECOND DISTRICT OF TEXAS

FORT WORTH

NO. 2-07-224-CV



IN RE JOSEPH DANIEL MAHADY	RELATOR



------------

ORIGINAL PROCEEDING

------------

MEMORANDUM OPINION
(footnote: 1)
------------

The court has considered relator’s petition for writ of mandamus and is of the opinion that relief should be denied. &nbsp;Accordingly, relator’s petition for writ of mandamus is denied.

Relator shall pay all costs of this original proceeding, for which let execution issue.



PER CURIAM





PANEL A: &nbsp;LIVINGSTON, DAUPHINOT, and WALKER, JJ. 



DELIVERED: &nbsp;July 3, 2007

FOOTNOTES
1:See
 
Tex. R. App. P. 47.4.




